Exhibit 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

TEXAS BANKERS ASSOCIATION; and RIO
BANK, MCALLEN, TEXAS

Plaintiffs,
Vv. Case No: 7:23-cv-00144

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his official
capacity as Director of the Consumer Financial
Protection Bureau,

Defendants.

SUPPLEMENTAL DECLARATION OF FORD SASSER

In accordance with 28 U.S.C. § 1746, Ford Sasser offers the following supplement to his
declaration executed on May 12, 2023, and delivered to the Court as part of the First Amended

Complaint filed on May 14, 2023:

1. I, Ford Sasser, repeat and aver Ff 1 through 12 of my prior Declaration with the
exceptions, noted below, updating Rio Bank’s costs spent to date for preparing to implement
the CFPB’s new Final Rule and revising our estimates moving forward for both preparing to
implement the CFPB’s new Final Rule and for implementing it.

2. At my request, our Executive Vice President for Loan Administration has now
completed detailed cost estimates for what Rio Bank will spend both in implementing and
preparing to implement the Final Rule based on what we know at this time. I have
personally reviewed those numbers with our EVP and they accurately reflect what Rio

Bank expects to pay over the next 18 months (with most of the costs taking place in the
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next 6-12 months) in preparing to begin implementation of the Final Rule. The costs are
higher than originally predicted. See Exhibit A, attached.

3. Once we begin following the Final Rule, just the extended time required with each
loan applicant (assuming just one extra hour to collect the data and one hour to input the
data) will cost the Bank over $40,000/year. And this does not include the cost of hiring
additional employees needed to implement the Final Rule.

4. But before even reaching that point, there are substantial costs that will need to be
spent over the next 18 months to ensure that Rio Bank is prepared to implement the Final
Rule in a timely manner.

5. Per the guidance set forth in the Final Rule, Rio Bank will begin collecting data on
January 1, 2025. 88 Fed. Reg. 35150, 35533 (May 31, 2023) (§ 1002.114—Special
Transition Rules). This date is earlier than the posted compliance date in the Final Rule,
but the CFPB provided that banks may begin collecting the profiling information 12
months ahead of time in order to ensure that they are able to correctly collect and report
the data by the dates in the Final Rule. That “optional” compliance period is absolutely
necessary to prevent mistakes from being made once the compliance period actually begins
and Rio Bank would be irresponsible not to begin attempting to follow the Final Rule
during that time. Indeed, that is precisely why the CFPB is allowing banks to begin
implementing the Final Rule ahead of the posted compliance date.

6. Since the Final Rule was released, one mid-level staff person has already devoted
more than half of their employment hours just ensuring the Bank understands what is

necessary to meet the compliance schedule under the Final Rule. So far, that cost is $8,820
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and will only increase as Rio Bank prepares to begin collecting demographic information
on its loan customers.
7. Additionally, one executive-level employee has spent more than 20 hours thus far
researching and preparing to implement the Final Rule. That cost is only around $1,200
but we expect it to increase significantly during the next 6-12 months as we prepare to
begin collecting demographic data on our customers in accordance with the Final Rule.
8. As of this date, our bank has also assigned four of its employees to attend seminars
to further understand and begin preparations to comply with the Final Rule.
9. Employee feedback from these sessions indicate that as many new operational
questions are being raised as are being answered. Among these questions are:
e Howcan banks avoid enforcement action if customers do not desire to divulge their
demographic information?
e What is the interplay between 1071 and existing financial regulations that may
create duplicative and/or conflicting processes for banks?
e How can banks avoid enforcement action if application approval rates or rates of
denials, incomplete, or withdrawn applications differ from peers?
10. _—‘In light of these types of questions—both technical and fraught with pitfalls for
unsuspecting banks—as well as the unknown logistics that will be involved with collecting
the required data, it is clear that our bank must continue preparing and training employees
now in order to be ready to implement the Final Rule competently and on schedule. (And,
as noted previously, Rio Bank is “fully covered” by the Final Rule—the bank made 333

qualifying loans in 2021, 365 in 2022, and currently projected to make 276 in 2023.)
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11. The scope of the Final Rule will cause approximately 50 of our 200 employees to
go through new compliance training. The two departments of the Bank most affected by
the Final Rule will be Loan Administration and Lending. For our Loan Administration
staff, the preparation costs for training will approach $47,000. The costs of training our
Lending staff—including the frontline employees who will be responsible for collecting
the demographic data of our customers—will be just over $65,000.

12. | Combined, then, the known costs for training and implementation will be
approximately $112,000 before we begin to implement the Final Rule, much of which will
be spent in the next 12 months. This does not include the software that will be necessary
to carry out the Final Rule or the additional personnel that will be required to monitor and
verify data collection (individuals who must be hired and trained prior to Rio Bank
beginning to collect data on its customers).

13. IT have now personally attended two state and national trade association meetings
devoting time to the requirements of the Final Rule (with substantial costs associated with
my attendance).

14. At these meetings and on other occasions, I have begun inquiring about the need to
develop the software and an application for loan origination that will be able to track all of
the additional information the Final Rule requires.

15. | We have been told by the Compliance Alliance—a third-party compliance service
offered by the Texas Bankers Association that Rio Bank is a member of and uses—that the
software and related expenses of melding this extensive new data collection and reporting

system into the bank’s core computer system will be at least $60,000 (and likely much
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more) in addition to per-use fees for running the software on each loan application. That
cost is also exclusive of the internal training time also involved.

16. The costs of purchasing the software and training on it will all be spent prior to Rio
Bank’s planned implementation date of January 1, 2025. That amounts to an additional
$100,000 that will be spent in the next 12-18 months (as soon as the Bank is able to
determine which software application should be used).

17. In addition to the cost of the software itself, there will also be a cost to Rio Bank in
the time spent by our executive leadership in researching, vetting, and deciding on the right
software to use from among the FinTech vendors that will make such programming
available. From past experience, we expect that cost to also be substantial—the time spent
by our executive level employees alone in the process will be in the thousands of dollars.
18. In sum, Rio Bank has now spent just over $10,000 in 2023 preparing to implement
the Final Rule, including approximately $7,000 during the time (May through July 2023)
since my last declaration.

19. And we now estimate that the cost of employee and supervisory time alone for the
remainder of this year will be in excess of $45,000.

20. These costs will only rise over the next 12-18 months. Moreover, as part of the
Final Rule, we have now come to learn that we will also need to employ additional
compliance officers who can verify the biographical data the CFPB seeks without knowing
the specifics of the loan at issue. These are additional employees who must be located,

hired, and trained in the next 12-18 months.
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2A. Moreover, an added complication and cost which we have come to appreciate is the
immediate negative impact the Final Rule has caused with respect to absorbing the time of our
small business lending officers who would otherwise be servicing existing customers and
generating new economic activity through community lending. Those lost monies—though
unknown at present—are another real and immediate cost to Rio Bank that will be

unrecoverable.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on July 25, 2023.

DocuSigned by:

Ford. Sasser

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Ford Sasser
Exhibit A
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XO Section 1071 Supplemental Details - Cost Breakdown Estimate

Estimated Costs to Date:

A: mid level employee

Time reading and researching: Started April 10th 1/2 days through current as needed.

Creat reports from Core System (needed this data to determine Rio Bank's Tier Group) and created a Data
Collection Worksheet

70 days 4 hr/day 280 hours X S$ 22.50 S$ 6,300.00

14 days 8 hr/day 112 hours xX S$ 22.50 S$ 2,520.00 S 8,820.00
B: executive level employee
Time reading and researching off and on as time permit - spent appxroximately

22 hours X S$ 53.84 $ 1,184.48 S 1,184.48

Training: Webinar watched by 4 employees (Carol, Mary, Veronica & Lina)

4 Employees attended: 1 hour X $ 150.00 S$ 150.00 S 150.00

$ 10,154.48

Future Cost Estimate by Division:

Loan Administration (back-office)

Level |:
Level |:

Training in Compliance and Regulatory requirements;

Read and Research: CFPB 12 CFR Part 1002; Smally Business Lending under the Equal Credit Opportunity Act
(Reg B); a total of 885 pages

Webinar training updates for selected Loan Administration staff ;

In-House training to include collecting new data from applicant, completing new Data Collection Worksheet,
changes in the application process and learning new terminology;

Write Loan Policy, Loan Procedures and Guidelines

Research desired software to help process, maintain and submit new data;

Research the integration of multiple software systems needed to gather data (includes geocoding);

Training to understand where HMDA, ECIP and 1071 overlap;

(ie. AHMDA loan cannot also be a 1071, but they can both be a ECIP loan; potentially have extra GMI's)
Loan Administration for data submission and analysis

Est. # of hours Hourly rate: Cost Est:
520 S 22.50 S 11,700.00
650 S 53.84 S 34,996.00

S 46,696.00

Training Lending Staff: (front-line)

General Compliance and Regulatory requirements;

In-House training to include collecting new data from applicant, completing new Data Collection Worksheet,
changes in the application process and learning new terminology;

Webinar training updates for all frontline Lending Staff ;

Training to understand where HMDA, ECIP and 1071 overlap;

Est. # of hours Hourly rate: # of Employees: Cost Est:
Loan Assistant 60 S 21.00 15 S 18,900.00
ARM: 45 S 26.00 3 S 3,510.00
Loan Officer: 45 S 56.00 17 S 42,840.00
S 65,250.00
Extend time with each applicant (front -line):

e Time will increase by approximately 1 hour to gather data per applicant and answer questions

e Time will increase by approximately 1 hour to complete the Data Collection Worksheet (81 points)

Estimated # of Loans Originated in the month of May 2023: We estimated that out of 84 loans booked, 24 would
be subject to 1071; using these numbers that would be 28.57% rounded to 30%.

Therefore, in the example below 24 Originated loans would be subject to 1071 in a one month period:

1071 loans: Hourly rate:
Loan Assistant 24 S 21.00
ARM: 24 S 26.00
Loan Officer: 24 S 56.00

annual cost estimate:

Cost Est:
$ 504.00
S 624.00
S 1,344.00
S 2,472.00
X 12 months
S 29,664.00

Since this data is also obtained at time of application and would apply to Loans Denied, Withdrawn and
Incomplete in the month of May 2023: We estimated that 11 would be subject to 1071. Out of those 11 loans 2
are also HMDA applicable and would not be reportable. The 9 remaining would be used to estimate 1071

reportable transactions.

Therefore, in the example below 9 Denied, Withdrawn and Incomplete Loans would be subject to 1071 in a one

month period:

1071 loans: Hourly rate:
Loan Assistant 9 S 21.00
ARM: 9 S 26.00
Loan Officer: 9 S 56.00

Training our Board of Directors
e Non-Compliance

annual cost estimate:

Cost Est:
S 189.00
S 234.00
$ 504.00
S 927.00
X 12 months
S 11,124.00

Total Estimated Cost:
S 40,788.00

Vendor and Integretion Software Costs to upgrade or purchase new; vendors are not yet prepared and cost is

unknown.

Personnel - additional personnel will be required to monitor and verify data collection; currently unknown
